                                                                                                             Case 5:19-cv-01026-AB-PLA Document 5 Filed 06/05/19 Page 1 of 3 Page ID #:621


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                                                                                                           MENTOR WORLDWIDE LLC
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                                                                                                                                 UNITED STATES DISTRICT COURT
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                                                                                                                               CENTRAL DISTRICT OF CALIFORNIA
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TUCKER ELLIS LLP




                                                                                                        14 BRITTANY BILLETTS, an individual;) Case No. 5:19-cv-1026
                                                                                                           VIVIAN AGUIAR, an individual; ANN)
                                                                                                        15 DELMONICO, an individual; CORNELIA
                                                                                                                                            )
                                                                                                           DITTO, an individual; LEAH JOHNSON,
                                                                                                                                            )
                                                                                                        16 an individual;                   ) CERTIFICATE OF SERVICE
                                                                                                                                            )
                                                                                                        17                                  )
                                                                                                                              Plaintiffs,   ) Complaint Filed: February 22, 2019
                                                                                                        18                                  )
                                                                                                                  v.                        ) Related to Case No. 2:19-CV-01484
                                                                                                        19                                  ) (Jacob, et al. v. Mentor Worldwide,
                                                                                                             MENTOR WORLDWIDE, LLC; NUSIL, ) LLC, et al.)
                                                                                                        20   LLC; NUSIL TECHNOLOGY LLC; and )
                                                                                                             DOES 1–100, inclusive,         )
                                                                                                        21                                  )
                                                                                                                              Defendants.   )
                                                                                                        22                                  )
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                                                                                                                                            CERTIFICATE OF SERVICE
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                                                                                                         1                                 CERTIFICATE OF SERVICE
                                                                                                         2
                                                                                                                 I declare that I am a citizen of the United States and a resident of Los Angeles,
                                                                                                         3 California or employed in the County of Los Angeles, State of California. I am over the
                                                                                                           age of 18 and not a party to the within action. My business address is Tucker Ellis LLP,
                                                                                                         4 515 South Flower Street, Forty-Second Floor, Los Angeles, California 90071-2223.
                                                                                                         5
                                                                                                                 On June 5, 2019, I served the following:
                                                                                                         6
                                                                                                         7      1. DEFENDANT MENTOR WORLDWIDE LLC’S NOTICE OF REMOVAL
                                                                                                                   UNDER 28 U.S.C. §§ 1332, 1441, 1446 (DIVERSITY JURISDICTION);
                                                                                                         8
                                                                                                                2. DECLARATION OF MONEE TAKLA HANNA IN SUPPORT OF
                                                                                                         9         DEFENDANT MENTOR WORLDWIDE LLC’S NOTICE OF REMOVAL
                   Chicago ♦ Cleveland ♦ Columbus ♦ Houston ♦ Los Angeles ♦ San Francisco ♦ St. Louis




                                                                                                        10         UNDER 28 U.S.C. §§ 1332, 1441, 1446 (DIVERSITY JURISDICTION);

                                                                                                        11      3. DECLARATION OF DUSTIN RAWLIN IN SUPPORT OF DEFENDANT
                                                                                                                   MENTOR WORLDWIDE LLC’S NOTICE OF REMOVAL UNDER 28
                                                                                                        12         U.S.C. §§ 1332, 1441, 1446 (DIVERSITY JURISDICTION);
                                                                                                        13      4. CIVIL COVER SHEET;
TUCKER ELLIS LLP




                                                                                                        14      5. NOTICE OF INTERESTED PARTIES; and
                                                                                                        15      6. NOTICE OF RELATED CASE
                                                                                                        16   on the interested parties in this action by:
                                                                                                        17
                                                                                                             (X)   ELECTRONICALLY VIA ECF: the above-entitled document to be served
                                                                                                        18         electronically through the United States District Court, Central District ECF
                                                                                                        19         website, addressed to all parties appearing on the Court’s ECF service list. A copy
                                                                                                                   of the “Filing Receipt” page will be maintained with the original document in our
                                                                                                        20         office.
                                                                                                        21
                                                                                                             (X)   BY MAIL: By placing a true copy thereof enclosed in a sealed envelope(s)
                                                                                                        22         addressed as above, and placing each for collection and mailing on that date
                                                                                                                   following ordinary business practices. I am readily familiar with this business’s
                                                                                                        23         practice for collecting and processing correspondence for mailing. On the same day
                                                                                                        24         that correspondence is placed for collection and mailing, it is deposited in the
                                                                                                                   ordinary course of business with the U.S. Postal Service in Los Angeles, California,
                                                                                                        25         in a sealed envelope with postage fully prepaid.
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                                                                                                                                                 CERTIFICATE OF SERVICE
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                                                                                                         1       Jennifer A. Lenze, Esq.                       Lowell W. Finson, Esq
                                                                                                         2       Amanda D. McGee, Esq.                         FINSON LAW FIRM
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                                                                                                                 E-Mail: jlenze@lenzelawyers.com;
                                                                                                         5       mcgee@lenzelawyers.com
                                                                                                         6
                                                                                                         7                                                     Attorneys for Plaintiffs Brittany
                                                                                                                                                               Billetts, Vivian Aguiar, Ann
                                                                                                         8                                                     Delmonico, Cornelia Ditto, and
                                                                                                         9                                                     Leah Johnson
                   Chicago ♦ Cleveland ♦ Columbus ♦ Houston ♦ Los Angeles ♦ San Francisco ♦ St. Louis




                                                                                                        10
                                                                                                        11 (X)     I declare that I am employed in the office of the Bar of this Court at whose
                                                                                                                   direction the service was made.
                                                                                                        12
                                                                                                        13         Executed on June 5, 2019, at Los Angeles, California.
TUCKER ELLIS LLP




                                                                                                        14
                                                                                                        15                                              /s/ Monee Takla Hanna
                                                                                                                                                        MONEE TAKLA HANNA
                                                                                                        16                                              Attorneys for Defendant
                                                                                                        17                                              MENTOR WORLDWIDE LLC

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